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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
GREAT FALLS DIVISION

UNITED STATES OF AMERICA, CR 15-85-GF-BMM-JTJ
Plaintiff, FINDINGS AND
RECOMMENDATIONS

vs.

DAVID LEE ARMITAGE,

Defendant.

 

 

I. Synopsis

Defendant David Lee Armitage (Armitage) has been accused of violating
the conditions of his supervised release. Armitage admitted alleged violations 1
and 2. Armitage denied alleged violation 3. The government failed to satisfy its
burden of proof with respect to alleged violation 3. Armitage’s supervised release
should be revoked. Armitage should receive a custodial sentence of time served,
with 10 months of supervised release to follow.

II. Status

Armitage pleaded guilty to Possession of an Unregistered Firearm on

April 26, 2016. (Doc. 23). The Court sentenced Armitage to 37 months of

custody, followed by 2 years of supervised release. (Doc. 30). Armitage’s current
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term of supervised release began on February 25, 2020. (Doc. 55 at 2).

Petition

The United States Probation Office filed a Petition on October 20, 2020,
requesting that the Court revoke Armitage’s supervised release. (Doc. 55). The
Petition alleged that Armitage violated the conditions of his supervised release:
1) by failing to report for substance abuse testing; 2) by failing to report for
substance abuse treatment; and 3) by failing to notify his probation officer of a
change in his living arrangements. (Doc. 55 at 2-3).

Initial appearance

Armitage appeared before the undersigned for his initial appearance on the
Petition on November 17, 2020. Armitage was represented by counsel. Armitage
stated that he had read the petition and that he understood the allegations.
Armitage waived his right to a preliminary hearing. The parties consented to
proceed with the revocation hearing before the undersigned.

Revocation hearing

The Court conducted a revocation hearing on November 17, 2020, and on
January 5, 2021. Armitage admitted that he had violated the conditions of his
supervised release: 1) by failing to report for substance abuse testing; and 2) by

failing to report for substance abuse treatment. Armitage denied alleged violation
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3. The government failed to satisfy its burden of proof with respect to alleged
violation 3. The violations that Armitage admitted are serious and warrant
revocation of his supervised release.

Armitage’s violations are Grade C violations. Armitage’s criminal history
category is V. Armitage’s underlying offense is a Class C felony. Armitage could
be incarcerated for up to 24 months. He could be ordered to remain on supervised
release for up to 21 months, less any custody time imposed. The United States
Sentencing Guidelines call for a term of custody of 7 to 13 months.

Ill. Analysis

Armitage’s supervised release should be revoked. Armitage should receive
a custodial sentence of time served, with 10 months of supervised release to
follow. This sentence is sufficient but not greater than necessary.

IV. Conclusion

The Court informed Armitage that the above sentence would be
recommended to United States District Judge Brian Morris. The Court also
informed Armitage of his right to object to these Findings and Recommendations
within 14 days of their issuance. The Court explained to Armitage that Judge
Morris would consider a timely objection before making a final determination on

whether to revoke his supervised release and what, if any, sanction to impose.
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Armitage stated that he wished to waive his right to object to these Findings and
Recommendations, and that he wished to waive his right to allocute before Judge
Morris. |
The Court FINDS:
That David Lee Armitage violated the conditions of his supervised release:
by failing to report for substance abuse testing; and by failing to report for
substance abuse treatment.
The Court RECOMMENDS:
That the District Court revoke Armitage’s supervised release and commit

Armitage to the custody of the United States Bureau of Prisons for a term of
time served, with 10 months of supervised release to follow.

NOTICE OF RIGHT TO OBJECT TO FINDINGS AND

RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO OBJECT

The parties may serve and file written objections to the Findings and
Recommendations within 14 days of their entry, as indicated on the Notice of
Electronic Filing. 28 U.S.C. § 636(b)(1). A district court judge will make a de
novo determination regarding any portion of the Findings and Recommendations
to which objection is made. The district court judge may accept, reject, or modify,
in whole or in part, the Findings and Recommendations. Failure to timely file

written objections may bar a de novo determination by the district court judge, and
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may waive the right to appear and allocute before a district court judge.

DATED this 8th day of January, 2021.

mY
CLE
Sot Johnston

United States Magistrate Judge

 
